                                             CIVIL
               Case 0:18-cv-61336-JIC Document
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017         COVER on
                                               1-1 Entered SHEET
                                                             FLSD Docket 06/14/2018 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS                                                                                          DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                           County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                          THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)




(d) Check County Where Action Arose:                MIAMI- DADE        MONROE         BROWARD           PALM BEACH      MARTIN    ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                           (For Diversity Cases Only)                                        and One Box for Defendant)
    1    U.S. Government                  3                 Federal Question                                                        PTF        DEF                                           PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                          Citizen of This State           1           1     Incorporated or Principal Place          4      4
                                                                                                                                                        of Business In This State

    2    U.S. Government                  4                    Diversity                              Citizen of Another State            2         2   Incorporated and Principal Place          5       5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                      Citizen or Subject of a             3         3   Foreign Nation                            6       6
                                                                                                        Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                                 Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                       FORFEITURE/PENALTY                      BANKRUPTCY                       OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                PERSONAL INJURY                   625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                            310 Airplane                   365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product               Product Liability             690 Other                                28 USC 157                       3729 (a))
  140 Negotiable Instrument                  Liability                 367 Health Care/                                                                                          400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &               Pharmaceutical                                                      PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment              Slander                       Personal Injury                                                    820 Copyrights                     430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’             Product Liability                                                  830 Patent                         450 Commerce
  152 Recovery of Defaulted                  Liability                 368 Asbestos Personal                                                  835 Patent – Abbreviated           460 Deportation
                                                                                                                                              New Drug Application
      Student Loans                     340 Marine                         Injury Product                                                     840 Trademark                      470 Racketeer Influenced and
      (Excl. Veterans)                  345 Marine Product                 Liability                              LABOR                         SOCIAL SECURITY                  Corrupt Organizations
  153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                  710 Fair Labor Standards             861 HIA (1395ff)                   480 Consumer Credit
      of Veteran’s Benefits             350 Motor Vehicle              370 Other Fraud                       Act                              862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits               355 Motor Vehicle              371 Truth in Lending              720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                        Product Liability          380 Other Personal                740 Railway Labor Act                864 SSID Title XVI                 Exchange
  195 Contract Product Liability        360 Other Personal                 Property Damage               751 Family and Medical               865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                             Injury                     385 Property Damage                   Leave Act                                                           891 Agricultural Acts
                                        362 Personal Injury -              Product Liability             790 Other Labor Litigation                                              893 Environmental Matters
                                            Med. Malpractice                                             791 Empl. Ret. Inc.                                                     895 Freedom of Information
       REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS                     Security Act                      FEDERAL TAX SUITS                 Act
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                                                        870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                     441 Voting                      463 Alien Detainee                                                        or Defendant)                  899 Administrative Procedure
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                                 871 IRS—Third Party 26             Act/Review or Appeal of
                                                                        Sentence                                                              USC 7609
    240 Torts to Land                   443 Housing/                       Other:                                                                                                Agency Decision
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -      530 General                          IMMIGRATION                                                         950 Constitutionality of State
                                                                                                                                                                                 Statutes
    290 All Other Real Property             Employment                  535 Death Penalty                462 Naturalization Application
                                        446 Amer. w/Disabilities -      540 Mandamus & Other             465 Other Immigration
                                            Other                       550 Civil Rights                     Actions
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee –
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
                                                                                           Transferred from            6 Multidistrict
    1    Original          2 Removed         3 Re-filed         4 Reinstated           5                                                       7 Appeal to               8 Multidistrict
         Proceeding          from State        (See VI            or                       another district            Litigation
                                                                                                                                                 District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                             Appellate Court
                             Court             below)             Reopened                 (specify)                   Transfer
                                                                                                                                                 from Magistrate           – Direct
                                                                                                                                                 Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case                 YES        NO            b) Related Cases           YES           NO
RE-FILED CASE(S)                                          JUDGE:                                                                                  DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION
                                          LENGTH OF TRIAL via                   days estimated (for both sides to try entire case)
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
                                                                                                         DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER F.R.C.P. 23
                                                                                                                                                  JURY DEMAND:                      Yes          No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD



FOR OFFICE USE ONLY
RECEIPT #                             AMOUNT                    IFP                     JUDGE                                         MAG JUDGE
                                                                Save As...                      Print                     Reset
